     Case: 1:15-cv-05208 Document #: 14 Filed: 09/02/15 Page 1 of 1 PageID #:35

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Paul Silvestry
                                Plaintiff,
v.                                                     Case No.: 1:15−cv−05208
                                                       Honorable John Z. Lee
Fleet Services, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 2, 2015:


       MINUTE entry before the Honorable John Z. Lee: Status hearing held on 9/2/15.
The parties report that they have reached a settlement. This case is dismissed without
prejudice; the dismissal will become with prejudice in 45 days. If necessary, the parties
have 45 day to reinstate the case. Civil case terminated. Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
